









Petition for Writ of Mandamus Denied and Memorandum Opinion filed August
21, 2003









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed August 21, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-00885-CV

____________

&nbsp;

IN RE ANTONIA F. POLOS, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On August 18, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex.&nbsp; R.&nbsp;
App.&nbsp; P.&nbsp; 52.&nbsp; Relator also filed
a motion for emergency relief.

We deny relator=s motion for emergency relief and petition
for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Memorandum Opinion filed August 21, 2003.

Panel consists of
Justices Yates, Hudson, and Fowler.





